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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

UNITED STATES OF AMERICA
Case No. 2:18cr056-7
ORDER ON MOTION FOR
v. SENTENCE REDUCTION UNDER
18 U.S.C. § 3582(c)(1)(A)
(COMPASSIONATE RELEASE)
UNDRAY HELLER

Upon motion of XxX the defendant [ ] the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1){A), and after considering the applicable
factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the
Sentencing Commission,

IT IS ORDERED that the motion is:

[_] GRANTED

[ The defendant’s previously imposed sentence of imprisonment of is reduced to

. If this sentence is less than the amount of time the defendant already served, the sentence

is reduced to a time served; or
[| Time served.
If the defendant’s sentence is reduced to time served:
L This order is stayed for up to fourteen days, for the verification of the

defendant’s residence and/or establishment of a release plan, to make
appropriate travel arrangements, and to ensure the defendant’s safe
release. The defendant shall be released as soon as a residence is verified,

a release plan is established, appropriate travel arrangements are made,
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and it is safe for the defendant to travel. There shall be no delay in
ensuring travel arrangements are made. If more than fourteen days are
needed to make appropriate travel arrangements and ensure the
defendant’s safe release, the parties shall immediately notify the court and
show cause why the stay should be extended; or
[] There being a verified residence and an appropriate release pian in place,

this order is stayed for up to fourteen days to make appropriate travel
arrangements and to ensure the defendant’s safe release. The defendant
shall be released as soon as appropriate travel arrangements are made and
it is safe for the defendant to travel. There shall be no delay in ensuring
travel arrangements are made. If more than fourteen days are needed to
make appropriate travel arrangements and ensure the defendant’s safe
release, then the parties shall immediately notify the court and show cause
why the stay should be extended.

[_] The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

L] Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”
of [] probation or [] supervised release of months (not to exceed the unserved
portion of the original term of imprisonment).
[| The defendant’s previously imposed conditions of supervised release apply to
the “special term” of supervision; or

L] The conditions of the “special term” of supervision are as follows:
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LJ The defendant’s previously imposed conditions of supervised release are unchanged.
[ The defendant’s previously imposed conditions of supervised release are modified as

follows:

[] DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

United States Attorney to file a response on or before , along with all Bureau of Prisons

records (medical, institutional, administrative) relevant to this motion.

xX] DENIED in part after complete review of the motion on the merits.

[<x] FACTORS CONSIDERED (Optional)
To the extent Heller moves for compassionate release based on COVID-19 alone, his
motion is DENIED.

bX] DENIED WITHOUT PREJUDICE in part because the defendant has not exhausted

all administrative remedies as required in 18 U.S.C. § 3582(c){1)(A), nor have 30 days lapsed
since receipt of the defendant’s request by the warden of the defendant’s facility.

In his motion to the Court, Heller cites the risk he faces from COVID-19, along with his
medical conditions, as warranting his compassionate release. Heller, however, has not exhausted
his administrative remedies with regard to his medical conditions. Indeed, Heller’s reduction-in-
sentence (“RIS”) request dated July 28, 2020 does not mention his medical conditions. Dkt. No.
407-1. As such, the BOP has had no opportunity to assess, for compassionate release purposes,
Heller’s medical conditions in light of COVID-19. In order to fully exhaust his administrative
remedies for seeking compassionate release based on both his medical conditions and COVID-19,

Heller should bring them both to the BOP’s attention in a new RIS request.
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IT IS SO ORDERED.

Dated: /

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UNITEDSTATES DISTRICT JUDGE
